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              Exhibit 1
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                                                                                                    Superior Court
                                                                                              ofthe District of Columbia




                   SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 CIVIL DIVISION

 JASON DONNER
 do Brendan Klaproth
 Klaproth Law PLLC
 2300 Wisconsin Ave NW
 Suite 100A
 Washington, DC 20007

     Plaintiff.

            V.                                      Civ. No.    2023-CAB-006055

 FOX NEWS NETWORK,LLC
 1211 Avenue ofthe Americas
 New York,NY 10036

     Serve: C T Corporation System
            1015 15th Street NW,Suite 1000
            Washington, DC 20005

        Defendant.


                               COMPLAINT AND JURY DEMAND

       Plaintiff Jason Donner alleges for his Complaint herein:

       1.         Mr. Donner worked for Fox News Network, LLC ("Fox News")for over 12 years

as a Capitol Hill reporter and producer. That changed when he opposed Fox News' false reporting

on the "stolen election" in 2020 and then its false coverage of the January 6th insurrection. As a

result of Mr. Donner speaking out against the false news stories being published by Fox News and

his political affiliation, Fox News discriminated against Mr. Donner and retaliated against him by

firing him. Accordingly, this is discrimination and retaliation case brought under the D.C. Human

Rights Act, as well as a wrongful termination case.

                                  JURISDICTION AND VENUE

       2.         This Court has jurisdiction over this claim pursuant to D.C. Code § 11-921(a)(6).
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       3.     This Court has personal jurisdiction over the Defendant pursuant to D.C. Code §

13-423(a)(1)-(4).

       4.      Venue is proper in this Court as the acts and/or omissions alleged in this Complaint

occurred in the District of Columbia. Moreover,the Defendant regularly transacts business in the

District of Columbia. Venue is also proper as Plaintiff's claims involve one or more common

questions of fact that arise from Defendant's conduct occurring in Washington, D.C.

                           PARTIES AND RELEVANT PERSONS

       5.     Plaintiff Jason Donner is an individual residing in the Commonwealth of Virginia.

Jason Donner is an employee as defined by D.C. Code § 2-1401.02(9)and D.C. Code § 32-531.01.

During all relevant times for all for events complained herein, Jason Donner was employed by Fox

News in the District of Columbia.

       6.     Defendant Fox News Network, LLC ("Fox News") is a limited liability company

organized in the State of Delaware with its principal place of business in New York. Fox News is

believed to be a wholly owned subsidiary of Fox Corporation, a Delaware Corporation with its

principal place of business in New York. Defendant Fox News conducts substantial business

activities in the District of Columbia. Fox News operates the Fox News Channel,the Fox Business

Channel, Fox News Radio, and Fox News Digital, which includes the foxnews.com, and

foxbusiness.com websites, Fox News'social media accounts, and Fox News' digital subscription

services, such as Fox Nation, which it refers collectively to as "Fox News Media." Defendant Fox

News is an employer as defined by D.C. Code § 2-1401.02(10) and D.C. Code § 32-531.01. At

all times relevant, Defendant Fox News acted by and through its agents, servants, and/or

employees acting within the course and scope of their employment with Fox News and in



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furtherance of Fox News' business.

                            FACTS COMMON TO ALL COUNTS ,

       7.      Plaintiff Jason Donner began working for Fox News in September 2010 as a"Desk

Assistant." He was promoted just over a year later to an "Associate Producer" position. Then in

2014 he was promoted to "Producer," and in 2018 he was again promoted to "Capitol Hill

Producer." In this role, he was responsible for reporting on events *ming on Capitol Hill in

Washington, D.C. It was generally understood that Capitol Hill is the toUghest beat in Washington,

D.C. because ofthe continuous political news cycle. And this could not have been more true with

respect to the coverage of the 2020 election as a Fox News reporter or Producer.

       8.      Mr. Donner prided himself on his journalistic standardslof reporting truthfully and

accurately. He was recognized on Capitol Hill as a reporter always asking hard questions to
                                                                      i
politicians on both sides of the political spectrum. While he did noti share many of the views

expressed by Fox News' Opinion page, or the evening hour television commentators, it did not

impact his ability to report on Capitol Hill news until the wake of the 2020 election.

       9.      After the 2020 election, something changed at Fox New.s. As reported by the New

York Times, "Fox News was the first news outlet to call Arizona for Mr. Biden, a move that

infuriated many of its regular viewers — including Mr. Trump, who denounced the network as

insufficiently loyal and urged fans to watch Newsmax and One America News instead." See

https://www.nytimes.com/2021/01/19/business/media/fox-news-chris-stirewalt-trum p.htm I (last

accessed on September 26,2022).Facing backlash from Trump supporters, Fox News immediately

capitulated to President Trump and his supporters by firing Chris StirOvalt, the onscreen reporter

during the projection for Arizona. Similarly, Bill Sammon,the Vice President and D.C. Managing



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Editor who had editorial oversight over Fox News' decision to call Arizona for Joe Biden, retired

over criticism from network executives over his handling of the network's election coverage. Id.

Shortly thereafter, approximately 20 journalists were laid off due to what Fox News called a

realignment of "business and reporting structure to meet the demands of this new era." Id. One

Fox News executive stated that Sammon did not understand "the impact to the brand and the

arrogance in calling AZ," and that it was "astonishing" given that it was Sammon'sjob to "protect

the brand."

       10.     According to text messages between CEO Suzanne Scott and Lachlan Murdoch,

the plan going forward was clear:

              Scott: "Viewers going through the 5 stages ofgrief. It's a question oftrust—the AZ
              [call] was damaging but we will highlight our stars and plant flags letting the
               viewers know we hear them and respect them."

               Murdoch:"Yes. But needs constant rebuilding without any missteps."

               Scott: "Yes today is day one and it's a process."

       1 1.    In short, Fox News faced a post-election drop in ratings due to its calling of Arizona

for Joe Biden and the network's initial reluctance to back up President Trump's false claims of

election   fraud.    See   https://www.nytimes.com/2021/01/19/business/media/fox-news-chris-

stirewalt-trump.htm I. To win back viewership and pledge its loyalty to President Trump, Fox's

corporate leadership purged the news division and those reporters who spoke out against claims of

election fraud, such as Mr. Stirewalt. Id. At the same time, Fox News changed the 7 p.m. hour,

which had been devoted to news, to opinion focused programing. Id.

       12.     After Chris Wallace left Fox News, Mr. Wallace stated, "I'm fine with opinion:

conservative opinion, liberal opinion....But when people start to question the truth — Who won



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the 2020 election? Was Jan. 6 an insurrection? — I found j that unsustainable." See

https://www.nyti m es.com/2022/03/27/business/m ed ia/ch ris-wa Ilace-cnn-fox-news.htm I       (last

accessed on September 26, 2023) Mr. Wallace continued,"Before, I found it was an environment

in which I could do my job and feel good about my involvement at FoX...And since November of

2020, that just became unsustainable, increasingly unsustainable as tine went on." Id.

        13.     According to Geraldo Rivera, who worked as a con-e4ondent and host for Fox

News,"[w]e were muzzled. Corporate discipline muzzles people." According to Rivera, Tilley

denied me permission to go on many shows over the course of my long career there. They have a

very rigid, very controlled kind of discipline."

        14.     Rivera stated that he was suspended three times for "Complaining about Tucker

Carlson, when he had the outlandish theory that January 6 was staked, it was a government

operative...it was total bullshit. I said it in those words and it was published and I got suspended
                                                                          1
right there, that day."

        1 5.   In a separate interview, Rivera stated the following:

               I was shocked and outraged. I mean, I was nauseous Oyer Tucker
               Carlson's premise that 9/11, not 9/11, that January 6th v%i,as an inside
               job. So Tucker Carlson began floating the idea, and I didn't know
               why. I assumed it wasjust evidence-based in his own mind. Floating
               the idea that January 6th was fake, that it was government agents
               that staged it, the agents provocateur who aggravated everything,
               that there was no you know, President Trump did not incite a
               legitimate riot.

               Then what happened is he made his remarks and then,., you know,
               deep state operators basically took advantage of it to rriake Trump
               look bad, which was preposterous. It was ridiculous. It was you
               know, I actually said it was "bullshit," is what I said to The
               Washington Post or The New York Times. I forget one :or the other
               because I did several interviews between those two papers at the
               time.


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                I got calls from within Fox. Right on. You know, we're shocked,
                we're outrned by what Tucker is trying to do. Thank you for
                speaking out, you know from people that could not speak out.

                You know,I even advised some prominent people just to cool it, that
                I could, I'lE take the heat because I felt that I was more bulletproof.
                I mixed my metaphors there, but I felt that I could say things that
                others, perhaps more vulnerable in their or more early in their
                careers, could not say. And so I was suspended for that.

        16.     But the purge in the news division was not limited to the widely recognized on-

 screen reporters. It also included the on-the ground reporters, such as Mr. Donner.

        17.     In the days: after the 2020 election, Fox News' reporting became focused on the
                            1
 unsubstantiated stolen election conspiracy advanced by President Trump's supporters. Indeed, the

"stolen election" claims published by Fox News were proven in a lawsuit to be false, based in part

 by the testimony and statements of Fox News' executives and reporters that acknowledged the

 claims to be untrue. US Dominion, Inc. v. Fox News Network LLC, 293 A.3d 1002, 1038 (Del.

 Super. Ct. 2023). Nonetheless, this did not change the fact that reporters were facing pressure from

 the top-down to push the "election fraud claims." For example, with respect to a Trump rally in

 November, Lachlan Murdoch, wrote in a message to Fox News' CEO on November 14, 2020,

Irdews guys have to be careful how they cover this rally. So far some of the side comments are

 slightly anti, and they shouldn't be. The narrative should be this is a huge celebration of the

 president,"          refOring          to          President            Trump.             See
                          1
 https://www.wash ingtonpost.com/media/2023/03/03/fox-punished-journal i sts-dom in ion-lawsu it/

(last accessed on September 26, 2023).

        18.     On November 19, 2020, Fox News broadcast the entirety of a "crazy" press

 conference where Rudy Giuliani and Sidney Powell made statements that Dominion helped in


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 stealing the election from President Trump. Fox News' White House correspondent, Kristin Fisher

 responded,"That was certainly a colorful news conference from Rudy Giuliani, but it was light on

facts," she told viewers."So much of what he said was simply not true, or has already been thrown

 out in court. ... The Trump campaign has yet to provide, at least in court, hard evidence of voter

fraud and irregularities widespread enough to overturn the outcome of the election." See

 https://www.washingtonpost.com/media/2023/03/03/fox-bunished-iou Malists-dom in ion-lawsu it/

(last accessed on September 26, 2023). Fisher received an immediate reprimand from her boss,

 Bryan Boughton, who "emphasized that higher-ups at Fox News were also unhappy with it" and

 that Fisher "needed to do a better job...—this is a quote—'respecting our audiences.' Id. Fisher

 texted that she had been "punished for doing my job." Id.

        19.    Plaintiff Jason Donner had a similar experience to Fisher. Donner attended the

 November 19, 2020 Giuliani press conference at the RNC. Donner tweeted:


                              Jason Donner
                              @jason donner


                      At this presser, Rudy Giuliani keeps claiming voter
                      fraud in Philadelphia, but he said this to a
                      Pennsylvania court:"This is not a fraud case."

                      12:34 PM • 11/19/20 from Earth

                       11,1 View Tweet activity

                      1,250 Retweets 165 Quotes


 The tweet was retweeted by many high-profile D.C.journalists, such Manu Raju, John Dickerson,

 Maggie Haberman, and Kristin Fisher. Later that day, Donner's direct boss, Anita Siegfriedt,

 called Donner. Siegfriedt reprimanded Donner for the tweet, stating that Donner was not permitted


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to tweet his "opinions." Donner pushed back that this was not an opinion, but facts based on what

Giuliani stated at the press!conference and what he stated in a court case. Siegfriedt stated that she

would "let it go" but that Donner needed to be careful moving forward. This was unlike Siegfriedt

as she always praised Donher's work and never took issue with Dormer's reporting prior to this. It

was clear to Donner that die reprimand from Siegfriedt came from upper management. From this

point on, Donner had a target on his back with upper management.

       20.     This toxic environment for Fox News' reporters attempting to report truthfully

reached its peak after the insurrection on the U.S. Capitol on January 6, 2021, as Fox News' desire

to placate their viewers ovierwhelmed the need to report truthfully on the facts. For example, on

January 5, 2021, Rupert Murdoch wrote to Fox News CEO,"It's been suggested our prime time

three should independentlY or together say something like 'the election is over and Joe Biden

won," and that such a statement "would go a long way to stop the Trump myth that the election

stolen." No such statement was made. Instead, on the night of January 5, 2021,Fox News had Eric

Trump on the air who expressed his debunked election fraud claims. Similarly, one Fox News

commentator stated on the evening of January 5, 2021 with respect to the Congressional

certification of the elections results to occur on the following day,"The Republic, its future, our

futures, are hanging in the balance."

       21.     On January 6, 2021, Donner was inside the U.S. Capitol in the Fox News booth

above the Senate Radio-TV Gallery Studio to report on the certification ofthe election results by
                          I
the joint session of Congress. Once the insurrectionists breached the Capitol, Donner and other

reporters took refuge in the news booths. While the U.S. Capitol was starting to be attacked, Fox

News reported that the insUrrectionists were "peaceful." Later that day, Martha MacCallum ofFox



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News stated during a live Fox News feed about these people,"When you hear their voices, you

can understand why they were severely disappointed." This statement was made near the same

time shots were fired outside the House Floor, tear gas deployed in the Ohio Clock Corridor, and

rioters were present in the Senate Chamber.

       22.     When Donner heard Fox News' false reporting of the nsurrection at the Capitol,

he called the Fox News' control room and stated, "I'm your Capitol Hill Producer inside the
                                                                    1
Capitol where tear gas is going off on the second floor in the Ohio clock corridor, rioters are

storming the building, reports of shots fired outside the House Chamb4r. I don't want to hear any

ofthis fucking shit on our air ever again because you're gonna get us all killed."

       23.     After January 6' 2021, Vice President of Editorial fo!r the D.C. Bureau, Doug

Rohrbeck, began routinely participating in the daily morning Capitof! Hill beat call that set the

agenda for the daily reporting. Similarly, D.C. Bureau Chief, Boughton, also began participating

more frequently in the daily morning calls. This was done so that Rohlrbeck and Boughton could

control what was reported by the news division every day.

       24.     In the Spring of2021,Donner spoke to Siegfriedt and complained about Fox News'

lack of support during the aftermath ofthe January 6th insurrection. Si4gfriedt stated that she told

D.C. Bureau Chief Bryan Boughton that Dormer "called it demoralizing and struggled to come to

work everyday when the network allows those falsehoods to be put on the air everyday."

       25.     In a similar vein, in June 2021, Rohrbeck wanted to rcin a story on Senator Ron

Johnson's press conference where he raised skepticism as to whethfr the COVID-19 vaccine

worked. Donner stated that it was dangerous to cover the story without interviewing a doctor for

the opposing point of view. Donner recommended that a Fox News doctor cover the story rather



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than the news division. F9rced to cover the press conference, Donner reported accurately on the

issue and thereby debun4d/fact-checked each of Senator Johnson's claims in his required story

pitch. He was praised bY, fellow Fox staffers for presenting the facts but raised the ire of

management.

       26.     Around this same time, Rohrbeck circulated far-right wing opinion articles to shape

the stories reported on by ;ithe news division. Donner pushed back stating that the news division

should not be reporting on pinion pieces containing unverified information. In addition, Rohrbeck

repeatedly circulated editorials from the Wall Street Journal and directed the D.C. news division

to report on the editorials. Donner replied that an editorial is not news, and the news division was

required to fact check the Assertions contained in the editorials.

       27.     In late October of2021, Donner complained to D.C. Bureau ChiefBryan Boughton

about Tucker Carlson's false statements regarding January 6th. Donner stated that the Fox Nation

program, Patriot Purge, consisted of nothing but conspiracy theories proven to be false. Donner

told Boughton that it was demoralizing that Fox News would allow Carlson to gaslight the country

with false information, especially in light of the fact that Fox News reporters were present in the

Capitol on January 6th, witnessed what happened at the Capitol, and were endangered by the

insurrectionists. Boughtoni replied along the lines that people were upset, but there was "nothing

they could do because Tucker had gotten bigger than the network and was out of control. The

executives could not stop him." During this meeting with Boughton, Donner also stated that he

called the control room during the insurrection and told Boughton everything he told the control

room on January 6th.




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       28.     On or about October 29, 2021, just prior to the release of Patriot Purge, Donner

worked with Jennifer Griffin on a story debunking the false claims in l'atriot Purge. Patriot Purge

was released despite the fact that Fox News knew it contained false information.

       29.     In or about November 2021, Tucker Carlson began airing his three-part

documentary called the Patriot Purge, that aired on Fox News' Fox Nation. In addition, Carlson

promoted the Patriot Purge on his prime-time show on Fox News. In the Patriot Purge, Carlson

suggested that January 6th was not orchestrated by President Trump supporters, but instead Trump

opponents, which he indicated were Antifa and the FBI. The documentary suggested January 6th

was a "false flag" operation to discredit Trump supporters.

       30.     In Spring of 2022, Fox News began to discriminate an0 retaliate against Donner.

Specifically, Donner's new supervisor, NuNu Japaridze accused Doinner of creating a "toxic

environment." Dumbfounded by the accusation, Donner pressed JaParidze for details and to

substantiate the accusation. She could not. Instead, she offered conclusory criticisms, such as

Donner needing "more self-awareness when talking during zoom meeitings" and counseling him

on the "importance of sending out editorial guidance." Donner had river received any of these

types ofcriticism from his prior supervisor in the previous five years cl spite the fact that his work

ethic and performance remain unchanged. It became evident to Donner,he was now being targeted

for speaking out against the false reporting on the election and the January 6th insurrection, and for

his political affiliation. Fox News' management was pushing a far right-wing agenda in the news

division, and Donner would not comply with their demands to inaccurately report on the election

and former President Trump. Shortly thereafter, Donner went out on medical leave.




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       31.        On May 24, 2022, Donner complained to Fox News' HR department and to his

direct supervisor NuNu laparidze in writing. In addition to complaining about Rohrbeck's

criticism of Donner for reporting on topics "the network does not care about", such as Supreme

Court Justice Ketanji Brown Jackson's confirmation process, Donner also complained about Fox

News' false reporting on! January 6th. Specifically, Donner wrote the following to HR and

Japaridze:

             Tucker Carlson/January 6th Aftermath
             Fox has not supported its journalists since the January 6, 2021 attack on the Capitol. By allowing
             highly paid hosts an contributors to make factually false statements about that day is not only
             demoralizing but creates a hostile work environment. I barely watch our programming or read
             our website anymore because it's hard to stomach these untruths being aired and written.

             I raised my concerns last year multiple times:
                          In the spring sperate times to Cherie Grzech and Anita Siegfriedt, who were
                          sympathkic and said they would raise them to upper management.
                          Then to Bryan Boughton and HR in the Fall when Tucker Carlson's Patriot Purge aired
                          that shovived sympathy to rioters who broke the law and stormed the Capitol and
                          said the rioters were the real victims.
                              o They broke the law by entering the Capitol and threatened myself and my co-
                                     i
                                   workers.
                              o My colleague was in the House Chamber when shots were fired by Capitol
                                   Pblice to protect House members evacuating.
                              o Rioters broke into the building destroying windows and attacked police
                                   officers, including one floor below where I was located. They absolutely
                                   Would have attacked members if they were not evacuated in time.
                              o My colleagues and I continued reporting in the Senate Booth with the lights
                                   off as I plotted escape paths and potentially using a monopod as a weapon to
                                   protect ourselves.
                              o Two Capitol Police officers I knew died as a result of January 6th,including
                                   ope who committed suicide because he was so distraught about what
                                   happened.
             Our lives were endangered that day. My colleagues and I put our lives at risk covering the story
             and yet my employer continually allows these lawbreakers to continually be portrayed as
             victims. It's difficult to feel supported when this is allowed to happen.


       32.        In August 022, Donner met with HR for more than two hours over Zoom. During

this meeting, he complainep about the false reporting by Tucker Carlson and the toxic environment

it breeds at Fox News, as Well as the lack of support from the network for reporters. This was the

second occasion that Donner had complained to FIR about Tucker Carlson's inaccurate reporting,


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the first being a year earlier when Carlson attacked U.S. Capitol Police Officer Harry Dunn.
                                                                   i
During this meeting, Donner further explained the incident when he called the control room on

January 6th to complain.                                                 1

        33.      On September 26, 2022, Donner called in sick because li;ie was recovering from the

COVID vaccine that he had recently received. Donner had received the COVID vaccine the

previous week, but fell ill from it. Despite being ill, he continued to work because he did not want

to leave his coworkers short-handed. Nonetheless, by September 26, 2022, he was too ill to

continue to work and so he called in sick. His body gave out on him because he had kept working

while ill.

        34.      On September 27, 2022, Donner's supervisor, Japaridze, called him. Japaridze

began raising her voice and eventually yelling. Japaridze accused Donner of being irresponsible

and challenged Donner's work ethic, despite the fact that Donner worked past 9pm three nights in

the preceding week while ill from the COVID vaccine. Essentially, Japaridze faulted Donner for

calling in sick the day before when he was recovering from the COVID vaccine. The call ended

with Japaridze hanging up on Donner.

        35.      On September 28, 2022, while Donner was working on the Senate side of the

Capitol, D.C. Bureau Chief, Boughton, asked Donner to come into the bureau. FIR was present

with Boughton when Donner showed up. Boughton told Donner that 4 was fired because he was

late for work and did not show up for work (presumably referring to 'September 26, 2022 when

Donner called in sick). Donner asked for examples, and Boughton said,"we don't need any."

        36.      This was a pretextual firing based on Donner's political views and affiliation, his.

refusal to report false information regarding the 2020 election and Janulry 6th,and for his engaging



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in protected activity. UltiMately, Fox News wanted to purge the news division of any staff that

would not get in line wih the directive to only report information that appease the Trump

supporters and former President Trump.

                                          COUNT I
                             I DISCRIMINATION IN VIOLATION
                               OF THE D.C. HUMAN RIGHTS ACT

        37.     Plaintiff realleges and incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if fully set forth herein.

        38.     Although traditionally a Republican, Donner affiliated with the Democratic party

in the 2017 and 2020 eled;tions. While Donner never allowed his political affiliation to interfere

with his reporting, he was nonetheless discriminated against by Fox News:based on his political

affiliation and views.

        39.     Defendant discriminated against Plaintiff on the basis of his political affiliation in

violation of the DCHRA by, inter alia, subjecting him to a hostile work environment because of

his political affiliation; subjecting him to different terms and conditions ofhis employment because

of his political affiliation; subjecting him to workplace environment where any person who did not

support President Trump, disagreed with the election fraud conspiracy or January 6" conspiracies

were ostracized and forced to silently endure the false reporting on these events in order to maintain

his or her position; failing to take complaints of discrimination seriously; and firing him based on

his political affiliation.

        40.      As a direct nd proximate result of Defendant's unlawful discriminatory conduct in

violation of the DCHRA, Plaintiff has suffered economic and non-economic damages set forth

herein and has incurred attorneys' fees and costs. Plaintiff is now suffering and will continue to



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suffer irreparable injury and monetary damages as a result of Defendant's discriminatory acts
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unless, and until, the Court grants the relief requested herein.

       41.     Defendant's violations of the DCHRA were willful and warrant the imposition of

punitive damages.

       42.     WHEREFORE, Plaintiff prays for relief and demands entry of judgment in his

favor and against Defendant as follows:

              (a)      Permanently enjoining Fox News from discrimini ating or retaliating against

Plaintiff, or other current or former employees of Fox News;

              (b)      Awarding damages to compensate Plaintiff for ay and all economic losses

suffered by Plaintiff, including lost future wages and lost future earning capacity;

              (c)      Awarding compensatory damages to compensate for the mental anguish,

humiliation, damage to reputation, loss of life's pleasures, lost earnings, and emotional distress

that Plaintiff suffered as a result of Fox News' actions;

              (d)      Awarding punitive damages in an amount sufficient to punish Defendant for

its willful, deliberate, malicious and outrageous conduct and to deter Fox News, its employers

from engaging in such misconduct in the future;

              (e)      Awarding the costs, expenses, pre and postjudgrrient interest, and attorneys'

fees; and,

               (f)     Such further equitable and legal relief as the Court deems appropriate under

the circumstances.

                                 COUNT H
                RETALIATION UNDER THE D.C. HUMAN RIGHTS ACT

       43.     Plaintiff realleges and incorporates by reference the Olegations contained in the


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 preceding paragraphs of this Complaint as if fully set forth herein.

        44.     The D.C. Iiiluman Rights Act prohibits an employer from retaliating against an

 employee "for opposing an employment practice that is prohibited by the Act" or because an

 individual "made a charge testified, assisted, or participated in any manner in an investigation."

        45.     Plaintiffengaged in protected activity by complaining ofFox News'false reporting

 on the 2020 election and January 6th, its advocacy for President Trump, and its advocacy of far-

 right wing, radical conservative views. Plaintiff engaged in this protected activity: (1) on

 November 19, 2020 when he tweeted about Giuliani's inconsistent statements made during a press

conference regarding electon fraud;(2)on January 6, 2021 during the insurrection on the Capitol;
                         I
(3)in the Spring of2021 vv hen he complained to Anita Siegfriedt regarding the false claims being

 reported on Fox News regarding the election and January 6th;(4) in later October 2021 when he

complained to the D.C. Bpi reau Chief Boughton about the false reporting on election fraud and

 January 6th conspiracies;(5) on May 24, 2022 when Donner complained in writing to Fox News'

 HR department and to his 'direct supervisor NuNu Japaridze about the false reporting on January

6th; and (6) on August 202,2 when Donner met with HR to complain about the false reporting by

 Tucker Carlson and the taic environment it created for reporters that did not share those political

 views or affiliation. When Donner complained, he had a good-faith reasonable belief that Fox

News was violating the D.C. Human Rights Act by discriminating against its employees based on

their political affiliation arid views.

        46.     As a direc and proximate result of Plaintiff's opposition to the discriminatory

 practices of Fox News and its pushing a far-right wing, ultra conservative, pro-Trump agenda,

 Defendant subjected Plaintiff to antagonism, harassment, terminated him, and denied him the



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benefits and responsibility that his position had previously garnered.

       47.     WHEREFORE, Plaintiff prays for relief and demand entry of judgment in his

favor and against Defendant as follows:

              (a)      Permanently enjoining Fox News from discriminating or retaliating against

Plaintiff, or other current or former employees of Fox News;

              (b)      Awarding damages to compensate Plaintiff for any and all economic losses

suffered by Plaintiff, including lost future wages and lost future earning capacity;

              (c)      Awarding compensatory damages to compensa'te for the mental anguish,

humiliation, damage to reputation, loss of life's pleasures, lost earnings, and emotional distress

that Plaintiff suffered as a result of Fox News'actions;

              (d)      Awarding punitive damages in an amount sufficint to punish Defendant for

its willful, deliberate, malicious and outrageous conduct and to deter Fox News, its employers

from engaging in such misconduct in the future;

              (e)      Awarding the costs, expenses, pre and postjudOent interest, and attorneys'

fees; and,

              (f)      Such further equitable and legal relief as the Cou'it deems appropriate under

the circumstances.

                                            COUNT III
                           AIDING AND ABETTING A VIOLATION
                             OF THE D.C. HUMAN RIGHTS ACT 1
                                                                         1
       48.     Plaintiff realleges and incorporates by reference the allegations contained in the

preceding paragraphs of this Amended Complaint as if fully set forth hfrein.

       49.     The DCHRA makes it "an unlawful discriminatory practice for any person to aid,



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abet, invite, compel, or coerce the doing of any ofthe acts forbidden under" the DCHRA. D.C.

Code §2-1402.62

       50.     Fox News knew or should have known about Boughton's, Rohrbeck's, and

Japaridze's discriminatory and retaliation conduct in violation of the DCHRA and failed to stop

it.

       51.     Fox News,'Boughton, Rohrbeck, and Japaridze unlawfully aided and abetted the

discriminatory and retaliatolry conduct of one another.
                           l
       52.     As a direct and proximate result of Defendant's aiding and abetting the unlawful

discriminatory conduct in itiolation ofthe DCHRA,Plaintiff has suffered economic and non-

economic damages set forth herein and has incurred attorneys' fees and costs. Plaintiff is now

suffering and will continu to suffer irreparable injury and monetary damages as a result of

Defendant's discriminatory acts unless, and until, the Court grants the relief requested herein.

       53.     Defendant'b violations ofthe D.C. Human Rights Act were willful and warrant

the imposition of punitive damages.

       54.     Plaintiff seeks affirmative relief which may include, but is not limited to,

requiring Defendant to pot the avenues to address complaints of workplace harassment,

discrimination, and retaliation; requiring Defendant's employees to undergo discrimination,

harassment and retaliation training; and any other equitable relief as the Court deems

appropriate, compensator)/ damages, attorneys' fees, costs and disbursements of this action.

       55.     WHEREFORE, Plaintiff prays for relief in the form of a judgment against

Defendant by awarding(1)compensatory damages;(2) punitive damages;(3)equitable relief,

including back pay and front pay;(4) costs and attorney's fees;(5)punitive damages; and (6)any



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other reliefthe Court deems proper.

                                      COUNT IV
                                WRONGFUL TERMINATION

       56.     Plaintiff realleges and incorporates by reference the allegations contained in the

preceding paragraphs as if fully set forth herein.

       57.     Plaintiff was terminated in violation of the public policy exception to at-will

employment when Fox News retaliated against him for complaining about Fox News' false

reporting on the 2020 election, Fox News'false reporting on the January 6th insurrection, Tucker

Carlson's false reporting on the January 6th insurrection, that Fox News would allow Carlson to

gaslight the country with false information, and for pushing a far-right wing agenda that was

unsupported by verified information to appeal to their viewers. These complaints were a matter of

public concern because they involved conduct that directly endangered the public and members of

Congress on January 6th, undermined the U.S. electoral system based on false claims of election

fraud, and supported insurrectionists that imperiled the U.S. government and democracy.

       58.     Fox News violated the public policy exception to the at-will employment doctrine

by terminating Plaintiff in retaliation for reporting a matter of public concern.

       59.     As a result of Defendant's wrongful termination and retaliation, Plaintiff suffered

severe damages.

       60.     WHEREFORE, Plaintiff prays for relief in the fork' of a judgment against

Defendants by awarding Plaintiff compensatory damages; punitive damages; equitable relief;

reasonable attorney's fees and expenses; court costs; and any other relief the Court deems proper.




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                                    COUNTY
                                VIOLATION OF THE
             D.C. SICK AND SAFE LEAVE ACT (D.C. CODE § 32-531.01, et seq)

        61.     Plaintiff re0eges and incorporates by reference the allegations contained in the

preceding paragraphs as ififully set forth herein.

        62.    In an effort to create pretext for firing Donner, Fox News claimed it fired Donner

for not coming into work on September 26, 2022. But even its pretextual excuse for firing Donner

was an unlawful one.

        63.     Under D.C1 Code § 32-531.08(a), a "person shall not interfere with, restrain, or

deny the exercise of, or the attempt to exercise, any right provided by" the D.C. Sick and Safe

Leave Act, which includes using paid sick leave. In addition, under D.C. Code § 32-531.08(b)(4),

"an employer shall not discharge or discriminate in any manner against an employee because the

employee:...(4) uses paid leave provided under this subchapter."

        64.    Fox News violated D.C. Code § 32-531.08(b)(4) by terminating Donner for using

paid sick leave on September 26, 2022 as he recovered from his COVID-19 vaccine.

        65.    The remedies available for violations ofthe Sick and Safe Leave Act are set forth

in D.C. Code § 32-531.12 and D.C. Code § 32-1308 and include, compensatory damages, punitive

damages, reasonable attorhey fees and costs, back wages, liquidated damages equal to treble the

amount of unpaid wages; statutory penalties, and equitable relief such as reinstatement.

       66.      WHEREFORE, Plaintiff prays for relief in the form of a judgment against

Defendants by awarding 31aintiff compensatory damages; punitive damages; equitable relief;

reasonable attorney's fees and expenses; court costs; and any other reliefthe Court deems proper.




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                                     PRAYER FOR RELIEF

       67.     WHEREFORE, Plaintiff prays for relief in the form of a judgment against all

Defendant for compensatory damages; punitive damages; equitable relief; pre- and post-judgment

interest; costs; attorney's fees; and any other relief the Court deems prciper and just.

                                 JURY AND TRIAL DEMAND

       Plaintiff hereby demands a trial by jury with respect to each claim in this Complaint.

                                              Respectfully submitted, I
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                                              Is/ Brendan J. Klaproth
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